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                                                                       ACCO,(GJSx),CLOSED,DISCOVERY,TRANSFERRED
                       UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
              CIVIL DOCKET FOR CASE #: 2:22−mc−00115−MCS−GJS

Samsung Electronics Co., Ltd. et al v. ScienBiziP, P.C. et al                Date Filed: 06/06/2022
Assigned to: Judge Mark C. Scarsi                                            Date Terminated: 07/20/2022
Referred to: Magistrate Judge Gail J. Standish                               Jury Demand: None
Case in other court: U.S. District Court, Eastern District of Texas,         Nature of Suit: 890 Other Statutory Actions
                     4:21−cv−00622−SDJ                                       Jurisdiction: Federal Question
Cause: Civil Miscellaneous Case
Plaintiff
Samsung Electronics Co., Ltd.                               represented by Brian Edward Mack
                                                                           Quinn Emanuel Urquhart and Sullivan LLP
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            Case 4:22-mc-00143-ALM Document 16 Filed 07/21/22 Page 2 of 5 PageID #: 469
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Plaintiff
Samsung Electronics America, Inc.           represented by Brian Edward Mack
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                                                         Charles K Verhoeven
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                                                         Jeffrey William Nardinelli
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Plaintiff
Samsung Research America, Inc.              represented by Brian Edward Mack
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              Case 4:22-mc-00143-ALM Document 16 Filed 07/21/22 Page 3 of 5 PageID #: 470
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jeffrey William Nardinelli
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V.
Defendant
ScienBiziP, P.C.                                            represented by Hua Chen
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Defendant
Alvin Koan                                                  represented by Hua Chen
                                                                           (See above for address)
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                                                                           ATTORNEY TO BE NOTICED


 Date Filed        #    Docket Text

 06/06/2022        Ï1   MOTION RELATED TO A SUBPOENA FROM ANOTHER DISTRICT with filing fee
                        previously paid ($49.00 paid on 06/06/2022, receipt number 33418360), filed by Plaintiff Samsung
                        Electronics Co., Ltd., Samsung Research America, Inc., Samsung Electronics America, Inc..
                        (Attachments: # 1 Memorandum of Points and Authorities in support of Motion to Compel, # 2
                        Declaration of Jeff Nardinelli in support of Motion to Compel, # 3 Exhibit 1, # 4 Exhibit 2, # 5
                        Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, #
                        12 Exhibit 10, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Proposed Order) (Attorney Jeffrey William
                        Nardinelli added to party Samsung Electronics America, Inc.(pty:pla), Attorney Jeffrey William
                        Nardinelli added to party Samsung Electronics Co., Ltd.(pty:pla), Attorney Jeffrey William
                        Nardinelli added to party Samsung Research America, Inc.(pty:pla))(Nardinelli, Jeffrey) (Entered:
                        06/06/2022)

 06/06/2022        Ï2   APPLICATION to file document Portions of Memorandum of Points and Authorities in support of
                        Motion to Compel and Certain Exhibits Thereto under seal filed by Plaintiffs Samsung Electronics
                        America, Inc., Samsung Electronics Co., Ltd., Samsung Research America, Inc.. (Attachments: # 1
                        Proposed Order)(Nardinelli, Jeffrey) (Entered: 06/06/2022)

 06/06/2022        Ï3   SEALED DECLARATION IN SUPPORT OF APPLICATION to file document Portions of
                        Memorandum of Points and Authorities in support of Motion to Compel and Certain Exhibits
                        Thereto under seal 2 filed by Plaintiffs Samsung Electronics America, Inc., Samsung Electronics
                        Co., Ltd., Samsung Research America, Inc.. (Attachments: # 1 Memorandum of Points and
                        Authorities in support of Motion to Compel (unredacted), # 2 Exhibit 2 (unredacted), # 3 Exhibit 8
                        (unredacted), # 4 Exhibit 9 (unredacted), # 5 Exhibit 10 (unredacted))(Nardinelli, Jeffrey) (Entered:
                        06/06/2022)

 06/07/2022        Ï4
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                      NOTICE OF ASSIGNMENT to District Judge Mark C. Scarsi and Magistrate Judge Gail J.
                      Standish. (car) (Entered: 06/07/2022)

06/07/2022      Ï5    NOTICE OF PRO HAC VICE APPLICATION DUE for Non−Resident Attorney Kevin Hardy. A
                      document recently filed in this case lists you as an out−of−state attorney of record. However, the
                      Court has not been able to locate any record that you are admitted to the Bar of this Court, and you
                      have not filed an application to appear Pro Hac Vice in this case. Accordingly, within 5 business
                      days of the date of this notice, you must either (1) have your local counsel file an application to
                      appear Pro Hac Vice (Form G−64) and pay the applicable fee, or (2) complete the next section of
                      this form and return it to the court at cacd_attyadm@cacd.uscourts.gov. You have been removed as
                      counsel of record from the docket in this case, and you will not be added back to the docket until
                      your Pro Hac Vice status has been resolved. (car) (Entered: 06/07/2022)

06/07/2022      Ï6    INITIAL STANDING ORDER FOR CIVIL CASES ASSIGNED TO JUDGE MARK C. SCARSI
                      upon filing of the complaint by Judge Mark C. Scarsi. (smo) (Entered: 06/07/2022)

06/07/2022      Ï7    NOTICE OF HEARING on Motion Related to a Subpoena from Another District by Clerk of
                      Court. Motion set for hearing on 7/11/2022 at 03:00 PM before Magistrate Judge Gail J. Standish.
                      THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (car) TEXT ONLY
                      ENTRY (Entered: 06/07/2022)

06/08/2022      Ï8    ORDER GRANTING SAMSUNG'S APPLICATION TO FILE DOCUMENTS UNDER SEAL by
                      Magistrate Judge Gail J. Standish: The Court GRANTS Samsung's Application to File Documents
                      Under Seal, and the following documents are hereby SEALED: See Order for details. Granting 2
                      APPLICATION to Seal Document. (es) (Entered: 06/09/2022)

06/13/2022      Ï9    RESPONSE filed by Pro Hac Vice attorney Kevin Hardy on behalf of Plaintiffs Samsung
                      Electronics America, Inc., Samsung Electronics Co., Ltd., Samsung Research America, Inc.. RE:
                      Notice of Filing Fee Due. PHV fee N/A. Attorney will not be appearing as attorney of record on
                      this case. (lt) (Entered: 06/13/2022)

06/20/2022     Ï 10   MEMORANDUM in Opposition to Samsung's Motion to Enforce Subpoenas from Other District
                      filed by Defendants Alvin Koan, ScienBiziP, P.C.. (Attachments: # 1 Declaration of C. Chai ISO
                      Opposition, # 2 Exhibit A to Chai Decl., # 3 Exhibit B to Chai Decl., # 4 Exhibit C to Chai Decl., #
                      5 Declaration of A Koan ISO Opposition)(Attorney Hua Chen added to party Alvin Koan(pty:dft),
                      Attorney Hua Chen added to party ScienBiziP, P.C.(pty:dft))(Chen, Hua) (Entered: 06/20/2022)

06/27/2022     Ï 11   REPLY Reply in Support of Motion to Enforce Subpoenas filed by Plaintiffs Samsung Electronics
                      America, Inc., Samsung Electronics Co., Ltd., Samsung Research America, Inc.. (Attachments: # 1
                      Declaration Declaration of Jeff Nardinelli in Support of Reply In Support of Motion to Enforce
                      Subpoenas, # 2 Exhibit Exhibit 14, # 3 Exhibit Exhibit 15, # 4 Exhibit Exhibit 16, # 5 Exhibit
                      Exhibit 17, # 6 Exhibit Exhibit 18)(Nardinelli, Jeffrey) (Entered: 06/27/2022)

07/11/2022     Ï 12   MINUTES OF Order Re: MOTION TO COMPEL Hearing held before Magistrate Judge Gail J.
                      Standish: The case is called. Plaintiff and Defendant's Counsel appears via Zoom and state their
                      appearances. The Court hears argument and confers with Counsel. The matter is taken under
                      submission. The parties are directed to submit a status report as further detailed during the hearing.
                      The parties are to include potential dates for a telephonic status conference with the report. Court
                      Reporter: CourtSmart. (es) (Entered: 07/15/2022)

07/15/2022     Ï 13   STATUS REPORT Joint filed by Plaintiffs Samsung Electronics America, Inc., Samsung
                      Electronics Co., Ltd., Samsung Research America, Inc.. (Nardinelli, Jeffrey) (Entered: 07/15/2022)

07/18/2022     Ï 14   SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Magistrate
                      Judge Gail J. Standish. A Telephone Status Conference Call has been set for 8/8/2022 at 03:00 PM
                      before Magistrate Judge Gail J. Standish re: the MOTION TO COMPEL. Clerk to provide call−in
                      information. Additionally, counsel shall notify the Court Clerk via email at
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                      GJS_chambers@cacd.uscourts.gov of the name of each counsel appearing on the call. NOTE:
                      During the telephonic hearing, counsel must identify themselves before they speak for the benefit
                      of the Court. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (eq) TEXT
                      ONLY ENTRY (Entered: 07/18/2022)

07/20/2022     Ï 15   MINUTES ORDER (IN CHAMBERS) Order re: MOTION TO COMPEL 1 ; TRANSFERRING
                      CASE; and VACATING TELEPHONE STATUS CONFERENCE CALL 14 by Magistrate Judge
                      Gail J. Standish, the Court DIRECTS the Clerk's Office to transfer this matter to the United States
                      District Court for the Eastern District of Texas. See Order for details. Case electronically
                      transferred. (MD JS−6. Case Terminated.) (es) (Entered: 07/20/2022)
